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                   United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT



No. 20-5143                                                    September Term, 2019
                                                               FILED ON: JUNE 24, 2020

IN RE: MICHAEL T. FLYNN,
                     PETITIONER


                         On Emergency Petition for a Writ of Mandamus


       Before: HENDERSON, WILKINS and RAO, Circuit Judges.

                                            ORDER

        Upon consideration of the emergency petition for a writ of mandamus, the responses
thereto, and the reply, the briefs of amici curiae in support of the parties, and the argument by
counsel, it is

        ORDERED that Flynn’s petition for a writ of mandamus be granted in part; the District
Court is directed to grant the government’s Rule 48(a) motion to dismiss; and the District Court’s
order appointing an amicus is hereby vacated as moot, in accordance with the opinion of the
court filed herein this date.


                                            Per Curiam


                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Daniel J. Reidy
                                                              Deputy Clerk


Date: June 24, 2020

Opinion for the court filed by Circuit Judge Rao.
Opinion dissenting in part filed by Circuit Judge Wilkins.
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         United States Court of Appeals
                FOR THE DISTRICT OF COLUMBIA CIRCUIT



       Argued June 12, 2020                   Decided June 24, 2020

                                No. 20-5143

                         IN RE: MICHAEL T. FLYNN,
                                PETITIONER


              On Emergency Petition for a Writ of Mandamus


            Sidney Powell argued the cause for petitioner. With her on
       the petition for a writ of mandamus were Molly McCann and
       Jesse R. Binnall.

            Jeffrey B. Wall, Deputy Solicitor General, U.S.
       Department of Justice, argued the cause for respondent United
       States of America. With him on the response to the petition for
       a writ of mandamus were Noel J. Francisco, Solicitor General,
       Eric J. Feigin, Deputy Solicitor General, Frederick Liu,
       Assistant to the Solicitor General, Kenneth C. Kohl, Acting
       Principal Assistant U.S. Attorney, and Jocelyn Ballantine,
       Assistant U.S. Attorney.

           David Yost, Attorney General, Office of the Attorney
       General for the State of Ohio, Benjamin M. Flowers, Solicitor
       General, Steve Marshall, Attorney General, Office of the
       Attorney General for the State of Alabama, Kevin G. Clarkson,
       Attorney General, Office of the Attorney General for the State
       of Alaska, Leslie Rutledge, Attorney General, Office of the
       Attorney General for the State of Arkansas, Ashley Moody,
       Attorney General, Office of the Attorney General for the State
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       of Florida, Christopher M. Carr, Attorney General, Office of
       the Attorney General for the State of Georgia, Jeff Landry,
       Attorney General, Office of the Attorney General for the State
       of Louisiana, Lynn Fitch, Attorney General, Office of the
       Attorney General for the State of Mississippi, Eric Schmitt,
       Attorney General, Office of the Attorney General for the State
       of Missouri, Timothy C. Fox, Attorney General, Office of the
       Attorney General for the State of Montana, Mike Hunter,
       Attorney General, Office of the Attorney General for the State
       of Oklahoma, Alan Wilson, Attorney General, Office of the
       Attorney General for the State of South Carolina, Ken Paxton,
       Attorney General, Office of the Attorney General for the State
       of Texas, Sean D. Reyes, Attorney General, Office of the
       Attorney General for the State of Utah, and Patrick Morrisey,
       Attorney General, Office of the Attorney General for the State
       of West Virginia, were on the brief for amici curiae the States
       in support of petitioner.

            William J. Olson, Jeremiah L. Morgan, Herbert W. Titus,
       and Robert J. Olson were on the brief for amici curiae Former
       United States Attorney General Edwin Meese III and
       Conservative Legal Defense and Education Fund in support of
       petitioner.

            Jerome M. Marcus was on the brief for amici curiae
       Eleven Members of the United States House of Representatives
       in support of petitioner.

           John Reeves, pro se, was on the brief for amicus curiae
       John M. Reeves in support of petitioner and the United States.

          Michael H. McGinley was on the brief for amici curiae
       Majority Leader Mitch McConnell and Senators Tom Cotton,
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       Mike Braun, Kevin Cramer, Ted Cruz, Charles E. Grassley,
       and Rick Scott in support of the United States.

            Leslie McAdoo Gordon was on the brief for amicus curiae
       Federal Practitioners in support of petitioner and the United
       States.

           Eric B. Rasmusen, pro se, was on the brief for amicus
       curiae Professor Eric Rasmusen in support of petitioner.

           Beth A. Wilkinson argued the cause for respondent Judge
       Emmet G. Sullivan. With her on the response to the petition for
       a writ of mandamus were Kosta S. Stojilkovic and Rakesh
       Kilaru.

           Eugene R. Fidell, Stanley J. Marcus, and Gershon M.
       Ratner were on the brief for amicus curiae Lawyers Defending
       American Democracy, Inc. in support of respondent.

           Lawrence Robbins, Alan E. Untereiner, D. Hunter Smith,
       and William W. Taylor III were on the brief for amicus curiae
       Watergate Prosecutors in support of respondent.

            Daniel E. Jackson and John W. Keker were on the brief for
       amicus curiae Former Federal District Court Jurists in support
       of respondent.

           Gregory S. Smith was on the brief for amicus curiae New
       York City Bar Association in support of respondent.

           Before: HENDERSON, WILKINS, and RAO, Circuit Judges.

           Opinion for the Court filed by Circuit Judge RAO.
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           Opinion dissenting in part filed by Circuit Judge WILKINS.

            RAO, Circuit Judge: Michael Flynn, former National
       Security Advisor to President Donald J. Trump, pleaded guilty
       to making false statements under 18 U.S.C. § 1001. Before
       sentencing, Flynn moved to withdraw his plea, alleging that the
       government failed to produce material exculpatory evidence
       and breached the plea agreement. Several months later, the
       U.S. Attorney for the District of Columbia filed a motion to
       dismiss all charges. See FED. R. CRIM. P. 48(a) (“The
       government may, with leave of court, dismiss an indictment,
       information, or complaint.”). In its motion, the government
       explains that in light of newly discovered evidence of
       misconduct by the Federal Bureau of Investigation, the
       prosecution can no longer prove beyond a reasonable doubt
       that any false statements made by Flynn were material to a
       legitimate investigation—an element the government contends
       is necessary under Section 1001. See United States v. Gaudin,
       515 U.S. 506, 509 (1995). The government’s motion to dismiss
       also explains that “continued prosecution of the charged crime
       does not serve a substantial federal interest.” Gov’t Mot.
       Dismiss Criminal Information, No. 1:17-cr-232, ECF No. 198,
       at 2 (May 7, 2020). The district judge currently presiding over
       the case has yet to decide the government’s motion. Instead, he
       has appointed an amicus to present arguments in opposition to
       the government’s motion and to address whether Flynn should
       be held in criminal contempt for perjury. The district judge has
       also scheduled a hearing on these questions for July 16, 2020.

           Flynn petitioned for a writ of mandamus before this court
       pursuant to the All Writs Act, 28 U.S.C. § 1651, seeking three
       forms of relief: (1) an order directing the district court to grant
       the motion to dismiss; (2) an order vacating the amicus
       appointment; and (3) an order reassigning the case to a different
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       district judge. For this court to grant a writ of mandamus, “the
       right to relief must be ‘clear and indisputable’; there must be
       ‘no other adequate means to attain the relief’; and ‘the issuing
       court, in the exercise of its discretion, must be satisfied that the
       writ is appropriate under the circumstances.’” In re Cheney,
       544 F.3d 311, 312–13 (D.C. Cir. 2008) (quoting Cheney v. U.S.
       Dist. Court, 542 U.S. 367, 380–81 (2004)). Applying these
       standards, we grant Flynn’s petition in part.

            Although Rule 48 requires “leave of court” before
       dismissing charges, “decisions to dismiss pending criminal
       charges—no less than decisions to initiate charges and to
       identify which charges to bring—lie squarely within the ken of
       prosecutorial discretion.” United States v. Fokker Servs. B.V.,
       818 F.3d 733, 742 (D.C. Cir. 2016). “To that end, the Supreme
       Court has declined to construe Rule 48(a)’s ‘leave of court’
       requirement to confer any substantial role for courts in the
       determination whether to dismiss charges.” Id.; see also
       Newman v. United States, 382 F.2d 479, 480 (D.C. Cir. 1967)
       (“Few subjects are less adapted to judicial review than the
       exercise by the Executive of his discretion in deciding …
       whether to dismiss a proceeding once brought.”). The
       Judiciary’s role under Rule 48 is thus confined to “extremely
       limited circumstances in extraordinary cases.” United States v.
       Hamm, 659 F.2d 624, 629 (5th Cir. 1981); United States v.
       Ammidown, 497 F.2d 615, 621 (D.C. Cir. 1973) (emphasizing
       that Rule 48 motions must be granted “in the overwhelming
       number of cases”). More specifically, “[t]he principal object of
       the ‘leave of court’ requirement is … to protect a defendant
       against prosecutorial harassment … when the Government
       moves to dismiss an indictment over the defendant’s
       objection.” Rinaldi v. United States, 434 U.S. 22, 29 n.15
       (1977). Rule 48 thus “gives no power to a district court to deny
       a prosecutor’s … motion to dismiss charges based on a
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       disagreement with the prosecution’s exercise of charging
       authority.” Fokker Servs., 818 F.3d at 742.1

            Whatever the precise scope of Rule 48’s “leave of court”
       requirement, this is plainly not the rare case where further
       judicial inquiry is warranted. To begin with, Flynn agrees with
       the government’s motion to dismiss, and there has been no
       allegation that the motion reflects prosecutorial harassment.
       Additionally, the government’s motion includes an extensive
       discussion of newly discovered evidence casting Flynn’s guilt
       into doubt. See Mot. to Dismiss, ECF No. 198. Specifically, the
       government points to evidence that the FBI interview at which
       Flynn allegedly made false statements was “untethered to, and
       unjustified by, the FBI’s counterintelligence investigation into
       Mr. Flynn.” Id. at 2. In light of this evidence, the government
       maintains it cannot “prove either the relevant false statements
       or their materiality beyond a reasonable doubt.” Id. Insufficient
       evidence is a quintessential justification for dismissing
       charges. See Ammidown, 497 F.2d at 623 (explaining that a
       motion to dismiss should be granted “if it is explained to the
       judge that there was … an insufficiency of evidence … or other
       similar consideration”).

            The government’s representations about the insufficiency
       of the evidence are entitled to a “presumption of regularity …

       1
         In response to the petition, the district judge argues greater judicial
       scrutiny is warranted when a Rule 48(a) motion is filed after a guilty
       plea because formal judicial action has already been taken. Yet this
       claim conflicts with black letter law: “Rule 48(a) continues to apply
       even after conviction and sentencing while the case is on direct
       appeal, and the same standard applies to a government request for
       dismissal at that stage as applies if the request came prior to trial.”
       3B WRIGHT & MILLER, FED. PRAC. & PROC. CRIM. § 802 (4th ed.
       2013).
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       in the absence of clear evidence to the contrary.” United States
       v. Armstrong, 517 U.S. 456, 464 (1996) (quotation marks
       omitted). On the record before the district court, there is no
       clear evidence contrary to the government’s representations.
       The justifications the district court offers in support of further
       inquiry—for instance, that only the U.S. Attorney signed the
       motion, without any line prosecutors, and that the motion is
       longer than most Rule 48(a) motions—are insufficient to rebut
       the presumption of regularity to which the government is
       entitled.

            These clearly established legal principles and the
       Executive’s “long-settled primacy over charging decisions,”
       Fokker Servs., 818 F.3d at 743, foreclose the district court’s
       proposed scrutiny of the government’s motion to dismiss the
       Flynn prosecution. Before this court, the district judge explains
       that he plans to “question the bona fides of the government’s
       motion,” Sullivan Response 29 (quotation marks omitted),
       “inquire about the government’s motions and representations,”
       Sullivan Reply 26, “illuminat[e] the full circumstances
       surrounding the proposed dismissal,” id. at 12, and probe
       “whether the presumption of regularity for prosecutorial
       decisions is overcome” in “the unusual facts of this case,”
       Sullivan Response 3. A hearing may sometimes be appropriate
       before granting leave of court under Rule 48; however, a
       hearing cannot be used as an occasion to superintend the
       prosecution’s charging decisions, because “authority over
       criminal charging decisions resides fundamentally with the
       Executive, without the involvement of—and without oversight
       power in—the Judiciary.” Fokker Servs., 818 F.3d at 741. The
       district court’s orders appointing an amicus, see infra 8–10, and
       scheduling the proposed hearing therefore constitute clear legal
       error.
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            Because legal errors ordinarily may be corrected on
       appeal, a writ of mandamus is proper only if there is “no other
       adequate means to attain … relief.” Cheney, 542 U.S. at 380.
       Although “an abstract concern with the separation of powers,”
       does not rise to the level of an irreparable injury, In re
       Al Nashiri, 791 F.3d 71, 79–81 (D.C. Cir. 2015), we have
       found the requisite harm as a matter of course when a party
       alleges the district court’s action usurps a specific executive
       power. See In re Cheney, 406 F.3d 723, 731 (D.C. Cir. 2005)
       (en banc); Fokker Servs., 818 F.3d at 749; Cobell v. Norton,
       334 F.3d 1128, 1139–40 (D.C. Cir. 2003); In re Sealed Case
       No. 98-3077, 151 F.3d 1059, 1065–66 (D.C. Cir. 1998).

            In this case, the district court’s actions will result in
       specific harms to the exercise of the Executive Branch’s
       exclusive prosecutorial power. The contemplated proceedings
       would likely require the Executive to reveal the internal
       deliberative process behind its exercise of prosecutorial
       discretion, interfering with the Article II charging authority.
       Newman, 382 F.2d at 481 (citing United States v. Cox, 342 F.2d
       167, 171 (5th Cir. 1965)). Thus, the district court’s
       appointment of the amicus and demonstrated intent to
       scrutinize the reasoning and motives of the Department of
       Justice constitute irreparable harms that cannot be remedied on
       appeal. See Cobell, 334 F.3d at 1140 (“[I]nterference with the
       internal deliberations of a Department of the Government of
       the United States … cannot be remedied by an appeal from the
       final judgment.”); see also Cheney, 542 U.S. at 382.

           We must also assure ourselves that issuance of the writ “is
       appropriate under the circumstances.” Cheney, 542 U.S. at 381.
       The circumstances of this case demonstrate that mandamus is
       appropriate to prevent the judicial usurpation of executive
       power. The first troubling indication of the district court’s
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       mistaken understanding of its role in ruling on an unopposed
       Rule 48(a) motion was the appointment of John Gleeson to
       “present arguments in opposition to the government’s Motion.”
       Order Appointing Amicus Curiae, No. 1:17-cr-232, ECF No.
       205, at 1 (May 13, 2020) (emphasis added). Whatever the
       extent of the district court’s “narrow” role under Rule 48(a),
       see Fokker Servs., 818 F.3d at 742, that role does not include
       designating an advocate to defend Flynn’s continued
       prosecution. The district court’s order put two “coequal
       branches of the Government … on a collision course.” Cheney,
       542 U.S. at 389. The district court chose an amicus who had
       publicly advocated for a full adversarial process. Based on the
       record before us, the contemplated hearing could require the
       government to defend its charging decision on two fronts—
       answering the district court’s inquiries as well as combatting
       Gleeson’s arguments. Moreover, the district court’s invitation
       to members of the general public to appear as amici suggests
       anything but a circumscribed review. See May 12, 2020,
       Minute Order, No. 1:17-cr-232. This sort of broadside inquiry
       would rewrite Rule 48(a)’s narrow “leave of court” provision.

            And we need not guess if this irregular and searching
       scrutiny will continue; it already has. On May 15, Gleeson
       moved for permission to file a brief addressing, among other
       things, “any additional factual development [he] may need
       before finalizing [his] argument” and suggesting a briefing and
       argument schedule. Mot. to File Amicus Br., No. 1:17-cr-232,
       ECF No. 209, at 1–2 (May 15, 2020). The district court granted
       the motion and then set a lengthy briefing schedule and a July
       16, 2020, hearing. See May 19, 2020, Minute Order, No. 1:17-
       cr-232. In his brief opposing the government’s motion, Gleeson
       asserted the government’s reasons for dismissal were “pretext”
       and accused the government of “gross prosecutorial abuse.”
       Amicus Br., No. 1:17-cr-232, ECF No. 225, at 38–59 (June 10,
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        2020). He relied on news stories, tweets, and other facts outside
        the record to contrast the government’s grounds for dismissal
        here with its rationales for prosecution in other cases. See id. at
        43, 46–47, 57–59.

             These actions foretell not only that the scrutiny will
        continue but that it may intensify. Among other things, the
        government may be required to justify its charging decisions,
        not only in this case, but also in the past or pending cases cited
        in Gleeson’s brief. Moreover, Gleeson encouraged the district
        court to scrutinize the government’s view of the strength of its
        case—a core aspect of the Executive’s charging authority. See
        In re United States, 345 F.3d 450, 453 (7th Cir. 2003)
        (condemning district court’s failure to dismiss criminal charges
        based on its view that “the government has exaggerated the risk
        of losing at trial”). As explained above, our cases are crystal
        clear that the district court is without authority to do so. See
        Fokker Servs., 818 F.3d at 742; Ammidown, 497 F.2d at 623.

             Finally, each of our three coequal branches should be
        encouraged to self-correct when it errs. If evidence comes to
        light calling into question the integrity or purpose of an
        underlying criminal investigation, the Executive Branch must
        have the authority to decide that further prosecution is not in
        the interest of justice.2 As the Supreme Court has explained,
        “the capacity of prosecutorial discretion to provide
        individualized justice is firmly entrenched in American law. …

        2
          See U.S. Dep’t of Justice, Justice Manual § 9-27.200 cmt. (2020)
        (“[A]s a matter of fundamental fairness and in the interest of the
        efficient administration of justice, no prosecution should be initiated
        against any person unless the attorney for the government believes
        that the admissible evidence is sufficient to obtain and sustain a
        guilty verdict by an unbiased trier of fact.”).
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        [A] system that did not allow for discretionary acts of leniency
        would be totally alien to our notions of criminal justice.”
        McCleskey v. Kemp, 481 U.S. 279, 311–12 (1987) (quotation
        marks omitted); see also United States v. Smith, 55 F.3d 157,
        160 (4th Cir. 1995) (“[T]he duty of the United States Attorney
        [is] not simply to prosecute but to do justice.”) (quotation
        marks omitted). In the third branch, when a district court
        oversteps, the mandamus remedy allows the court of appeals to
        prevent encroachment on a coequal department. See Cheney,
        542 U.S. at 382 (“Accepted mandamus standards are broad
        enough to allow a court of appeals to prevent a lower court
        from interfering with a coequal branch’s ability to discharge its
        constitutional responsibilities.”).

             Because this is not the unusual case where a more
        searching inquiry is justified, and because there is no adequate
        remedy for the intrusion on “the Executive’s long-settled
        primacy over charging decisions,” Fokker Servs., 818 F.3d at
        743, we grant the petition for mandamus in part and order the
        district court to grant the government’s Rule 48(a) motion to
        dismiss the charges against Flynn.

             We deny Flynn’s petition to the extent he seeks
        reassignment of the district judge. This case does not meet the
        “high bar” for reassignment, id. at 751, which would be
        appropriate only if the district judge’s conduct was “so extreme
        as to display clear inability to render fair judgment,” Liteky v.
        United States, 510 U.S. 540, 551 (1994). Flynn focuses
        primarily on comments the district judge made at sentencing,
        but “judicial remarks during the course of a trial that are critical
        or disapproving of, or even hostile to, counsel, the parties, or
        their cases, ordinarily do not support a bias or partiality
        challenge.” Id. at 555; see also In re Barry, 946 F.2d 913, 914
        (D.C. Cir. 1991) (“[A] trial judge is entitled to form his own
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        judgment as to the conduct of a defendant and to take that
        judgment into account in sentencing.”). In light of these
        precedents, the district judge’s conduct did not indicate a clear
        inability to decide this case fairly. We decline to reassign the
        case to a new judge simply to grant the government’s Rule
        48(a) motion to dismiss.

                                      ***

            We include the following responses to the dissenting
        opinion in order to clarify the extent to which the dissent’s
        arguments are foreclosed by longstanding precedent and
        fundamental separation of powers principles.

             First, the dissent glosses over the presumption of
        regularity to which the Executive is entitled in the exercise of
        its prosecutorial discretion. While the district court is not a
        “rubber stamp” when considering whether to grant “leave of
        court” under Rule 48, Ammidown, 497 F.2d at 622, any judicial
        inquiry is strictly bounded by the presumption of regularity,
        and the presumption is overcome only in extraordinary cases
        and by “clear evidence to the contrary,” Armstrong, 517 U.S.
        at 464. The dissent fundamentally misstates our opinion by
        insisting we hold “a district court may not even consider [a
        Rule 48 motion] before giving its ‘leave.’” Dissenting Op. 3.
        Perhaps that is to distract from the simple fact that neither the
        dissent nor the district judge has identified a legitimate basis to
        rebut the presumption here. Our precedents emphatically leave
        prosecutorial charging decisions to the Executive Branch and
        hold that a court may scrutinize a motion to dismiss only on the
        extraordinary showing of harassment of the defendant or
        malfeasance such as bribery—neither of which is manifest in
        the record before the district court. See supra 6–7. The dissent
        argues the presumption is overcome in this case because of the
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              government’s “complete reversal” in moving to dismiss
              charges it previously supported. Dissenting Op. 17–18. Yet the
              government necessarily reverses its position whenever it
              moves to dismiss charges under Rule 48(a), and so the reversal
              standing alone cannot provide the irregularity. Given the
              absence of any legitimate basis to question the presumption of
              regularity, there is no justification to appoint a private citizen
              to oppose the government’s motion to dismiss Flynn’s
              prosecution. See Newman, 382 F.2d at 482.3

                   Second, the dissent undermines our recent decision in
              Fokker Services by recasting its necessary and well-considered
              reasoning as dicta. In that case, we relied on “settled
              constitutional understandings” to determine that Rule 48(a)’s
              “leave of court” requirement “confers no new power in the
              courts to scrutinize and countermand the prosecution’s exercise
              of its traditional authority over charging and enforcement
              decisions.” Fokker Servs., 818 F.3d at 741, 743. This part of
              the opinion is binding because the narrow interpretation of
              Rule 48(a) was essential to our interpretation of the Speedy
              Trial Act’s parallel “approval of the court” requirement. Id. at
              743; see also Seminole Tribe of Fla. v. Florida, 517 U.S. 44,
              67 (1996) (explaining that courts are bound by “those portions
              of the opinion necessary to th[e] result”). The dissent attempts
              to limit the holding of Fokker Services to its “particular legal

              3
                The dissent’s only remaining argument relating to the presumption
              of regularity is that the government is purportedly misinterpreting
              Section 1001’s materiality element. Dissenting Op. 18. The question
              before us, however, is not whether the Executive’s legal theory is
              ultimately correct, but whether the Executive has the constitutional
              discretion to end this prosecution—which for the reasons already
              discussed, it plainly does. In the initiation and cessation of a
              prosecution, it is the Executive’s view of the law that matters, not
              ours, because of its authority over criminal charging decisions.
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        context,” Dissenting Op. 4, but the decision is fundamentally
        about the scope of the Executive’s constitutional charging
        authority. As such, it is directly controlling here.

             Third, the dissent asserts our adherence to Fokker Services
        creates a circuit split. Dissenting Op. 4. Yet if a split exists, a
        proposition we dispute, it would be a result of Fokker Services’
        binding interpretation of Rule 48(a). Even on the dissent’s view
        that we should limit our reading of the case, the dissent’s
        proposed free-ranging public interest inquiry reaches beyond
        anything in our precedents. The level of scrutiny “left open” by
        Rule 48(a), Dissenting Op. 6, must be understood in light of the
        respective constitutional powers assigned to the Judiciary and
        the Executive, which suggests a natural limit on the appropriate
        judicial inquiry. The district court has no mechanism by which
        it can maintain a prosecution in the absence of the Executive
        Branch moving forward. Therefore, while the district court
        may check for regularity and ensure that a defendant is not
        being harassed by a motion to dismiss, its decision cannot turn
        on “what the judge independently consider[s] best in the public
        interest.” Ammidown, 497 F.2d at 623. 4 A court should not

        4
          The dissent maintains that the Supreme Court in Rinaldi and
        Thompson v. United States conducted an “independent evaluation”
        of the record to determine whether an unopposed Rule 48(a) motion
        should be granted. Dissenting Op. 10 (quoting 434 U.S. at 30; 444
        U.S. 248, 250 (1980)). Yet the references to an “independent
        evaluation” reflect the unremarkable proposition that, unlike a
        district court, a court of review like this court or the Supreme Court
        is limited to reviewing the facts included in the record. See, e.g.,
        United States v. Bell, 708 F.3d 223, 225 (D.C. Cir. 2013) (“[O]n
        appeal we are limited to the record in the district court.”); FED. R.
        APP. P. 10. The Supreme Court’s mention of an “independent
        evaluation” or “independent examination” does not support the
        authority of a district court—which is ordinarily not limited to a
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        second-guess the prosecutor’s evaluation of the evidence
        except in the “blatant and extreme case” where “the dismissal
        has no basis in fact” whatsoever. Id. at 621, 622. The dissent
        would sanction an expansive judicial inquiry under Rule 48(a)
        that runs afoul of Supreme Court precedent, this court’s
        precedent, and out of circuit precedent. See ICC v. Bhd. of
        Locomotive Engineers, 482 U.S. 270, 283 (1987) (“[I]t is
        entirely clear that the refusal to prosecute cannot be the subject
        of judicial review.”); Fokker, 818 F.3d at 743; In re United
        States, 345 F.3d at 454.5

             Fourth, although our dissenting colleague apparently
        agrees there is no need to cite a case on all fours before granting
        mandamus relief, he faults the majority for failing to identify a
        case in which mandamus was granted in nearly identical
        circumstances. Dissenting Op. 1, 7, 13. Fokker Services,
        however, directly rejects such a requirement: “[W]e have never
        required the existence of a prior opinion addressing the precise

        closed record—under Rule 48(a) to develop its own record of the
        prosecution’s charging decisions through the appointment of a
        private amicus or otherwise.
        5
          The dissent relies upon the Fifth Circuit’s “betrayal of the public
        trust” language to authorize courts to impose their independent
        conception of the public interest upon the Executive. Dissenting Op.
        5 (quoting Hamm, 659 F.2d at 629). As our sister circuits have
        explained, such a “betrayal” arises only where there is clear evidence
        of misconduct such as “bribery, animus towards the victim, or a
        desire to attend a social event,” United States v. HSBC Bank USA,
        863 F.3d 125, 141 (2d Cir. 2017), or a federal prosecutor “acting
        alone rather than at the direction or with the approval of the Justice
        Department,” In re United States, 345 F.3d at 454. See also Hamm,
        659 F.2d at 629–30 (noting “extremely limited circumstances” for
        judicial oversight such as when a prosecutor accepts a bribe). Such
        circumstances are not alleged here.
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        factual circumstances or statutory provision at issue in order to
        find clear error justifying mandamus relief.” 818 F.3d at 749–
        50. In any event, as explained above, Fokker Services directly
        forecloses the district court’s actions in these circumstances.
        Some questions regarding Rule 48(a) may be “unsettled,” as
        the dissent maintains, but there is nothing unsettled about the
        principle that a district court cannot second-guess prosecutorial
        discretion where there has been no indication of irregularity.
        The novelty of the district court’s usurpation of power
        heightens rather than lessens the need for mandamus. Fokker
        Servs., 818 F.3d at 750.

             Fifth, the dissent minimizes the import of the district
        court’s orders, claiming that we are granting mandamus
        “before the district court has acted.” Dissenting Op. 2
        (quotation marks omitted). Yet the district court has acted here.
        It has ordered briefing and scheduled a hearing in order to
        provide a court-appointed amicus the opportunity “to present
        arguments in opposition to the government’s Motion to
        Dismiss.” Order Appointing Amicus Curiae, ECF No. 205, at
        1. In other words, the court has appointed one private citizen to
        argue that another citizen should be deprived of his liberty
        regardless of whether the Executive Branch is willing to pursue
        the charges. Although no decision has yet been made on the
        motion to dismiss, the district court’s judicial supervision,
        detailed supra 7–8, “threatens to chill law enforcement by
        subjecting the prosecutor’s motives and decisionmaking to
        outside inquiry.” Wayte v. United States, 470 U.S. 598, 607–08
        (1985). As explained above, we have held such “interference
        with the internal deliberations” of the Executive Branch to be
        a quintessential irreparable injury giving rise to mandamus.
        Cobell, 334 F.3d at 1140–43.
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                                      17

             Sixth, the dissent maintains that mandamus must focus
        exclusively on the petitioner’s harms, not the government’s,
        because the government has not formally petitioned for
        mandamus. Dissenting Op. 7–10 & n.2. Our court has squarely
        rejected this argument. In Cobell, we granted mandamus on the
        basis of irreparable injury to the Executive Branch in the
        absence of a “separate petition for mandamus” filed by the
        government. See Cobell, 334 F.3d at 1140 n.*; see also Ex
        parte Peru, 318 U.S. 578, 587–88 (1943) (relying on harm to
        the Executive, namely “embarrass[ing] the executive arm of
        the Government in conducting foreign relations,” to grant a
        mandamus petition to a foreign sovereign without requiring a
        separate government petition). Here, we invited the
        government to respond, and at argument the government
        offered to file a petition at the court’s request. Oral Arg. Tr.
        46–47. The Executive Branch is not just any “different party,”
        Dissenting Op. 8 (emphasis omitted), but a coequal branch of
        government responsible for prosecutorial decisions. See
        Cheney, 542 U.S. at 390 (“As this case implicates the
        separation of powers, the Court of Appeals must also ask, as
        part of th[e mandamus] inquiry, whether the District Court’s
        actions constituted an unwarranted impairment of another
        branch in the performance of its constitutional duties.”).
        Therefore, we must consider the irreparable harms to the
        Executive in a case such as this, in which the government has
        moved to dismiss. Cf. Doe v. Exxon Mobil Corp., 473 F.3d 345,
        356–57 (D.C. Cir. 2007) (noting it would be appropriate to
        examine separation of powers harms to the Executive if it had
        joined the petitioner’s mandamus request or “requested the
        dismissal of the action” below).

            Seventh, the dissent swings for the fences—and misses—
        by analogizing a Rule 48(a) motion to dismiss with a selective
        prosecution claim. Of course, the Executive may not
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        “selectively prosecute[] someone based on impermissible
        considerations.” In re Aiken Cty., 725 F.3d 255, 264 n.7 (D.C.
        Cir. 2013). But “the equal protection remedy is to dismiss the
        prosecution, not to compel the Executive to bring another
        prosecution.” Id. (citing Armstrong, 517 U.S. at 459, 463).
        When the court scrutinizes a selective prosecution claim, it
        exercises the core Article III power by protecting individuals
        from improper and unconstitutional prosecutions. Young v.
        United States ex rel. Vuitton et Fils S.A., 481 U.S. 787, 816
        (1987) (Scalia, J., concurring in the judgment) (“The judicial
        power … includes the power to serve as a neutral adjudicator
        in a criminal case.”). Yet unwarranted judicial scrutiny of a
        prosecutor’s motion to dismiss places the court in an entirely
        different position. Rather than allow the Executive Branch to
        dismiss a problematic prosecution, the court assumes the role
        of inquisitor, prolonging a prosecution deemed illegitimate by
        the Executive. Judges assume that role in some countries, but
        Article III gives no prosecutorial or inquisitorial power to
        federal judges. See id. (“The judicial power … does not include
        the power to seek out law violators in order to punish them.”);
        United States v. Sineneng-Smith, 140 S. Ct. 1575, 1579 (2020)
        (“[C]ourts … do not, or should not, sally forth each day looking
        for wrongs to right. They wait for cases to come to them.”)
        (citation and quotation marks omitted). To suggest that judicial
        dismissal of an improper prosecution is analogous to the
        judicial continuation of an improper prosecution turns the
        separation of powers on its head.

              Ultimately, the dissent fails to justify the district court’s
        unprecedented intrusions on individual liberty and the
        Executive’s charging authority. This is not a case about
        whether “a district judge may even hold a hearing on a Rule
        48(a) motion.” Dissenting Op. 11 (emphasis omitted). Rather,
        it is about whether, after the government has explained why a
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                                        19

        prosecution is no longer in the public interest, the district judge
        may prolong the prosecution by appointing an amicus,
        encouraging public participation, and probing the
        government’s motives. On that, both the Constitution and cases
        are clear: he may not.

                                      ***

             For the foregoing reasons, we grant Flynn’s petition for a
        writ of mandamus in part and direct the district court to grant
        the government’s Rule 48(a) motion to dismiss. In light of that
        grant, we vacate the district court’s order appointing an amicus
        as moot. See Great W. Sugar Co. v. Nelson, 442 U.S. 92, 94
        (1979).

                                                              So ordered.
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             WILKINS, Circuit Judge, dissenting in part: It is a great
        irony that, in finding the District Court to have exceeded its
        jurisdiction, this Court so grievously oversteps its own. This
        appears to be the first time that we have issued a writ of
        mandamus to compel a district court to rule in a particular
        manner on a motion without first giving the lower court a
        reasonable opportunity to issue its own ruling; the first time
        any court has held that a district court must grant “leave of
        court” pursuant to Federal Rule of Criminal Procedure 48(a)
        without even holding a hearing on the merits of the motion; and
        the first time we have issued the writ even though the petitioner
        has an adequate alternative remedy, on the theory that another
        party would not have had an adequate alternate remedy if it had
        filed a petition as well. Any one of these is sufficient reason to
        exercise our discretion to deny the petition; together, they
        compel its rejection. I therefore respectfully dissent from the
        majority’s grant of the writ.

                                        I.

             Mandamus is a “drastic and extraordinary remedy,”
        Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367, 380 (2004)
        (quoting Ex parte Fahey, 332 U.S. 258, 259–60 (1947)), and
        its “three threshold requirements are jurisdictional,” such that
        the absence of any one compels denial of the writ and dismissal
        of the petition for want of jurisdiction, Am. Hosp. Ass’n v.
        Burwell, 812 F.3d 183, 189 (D.C. Cir. 2016); see also In re
        Kellogg Brown & Root, Inc., 756 F.3d 754, 760 (D.C. Cir.
        2014) (“[T]hree conditions must be satisfied before a court
        grants a writ of mandamus: (1) the mandamus petitioner must
        have ‘no other adequate means to attain the relief he desires,’
        (2) the mandamus petitioner must show that his right to the
        issuance of the writ is ‘clear and indisputable,’ and (3) the
        court, ‘in the exercise of its discretion, must be satisfied that
        the writ is appropriate under the circumstances.’” (quoting
        Cheney, 542 U.S. at 380–81)). In issuing a writ of mandamus
        compelling the District Court to immediately grant the
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                                          2
        Government’s motion to dismiss the information against
        Flynn, the majority concludes that each of these prerequisites
        is satisfied. The majority is in each respect mistaken.

                                         A.

             One of the most striking conclusions of the majority is
        virtually buried: It finds the issuance of mandamus to be
        appropriate under the circumstances, where those
        circumstances include the absence of any district-court ruling
        on the motion at issue. Our Court is “particularly disinclined”
        to issue this extraordinary writ “before the district court has
        acted.” Republic of Venezuela v. Philip Morris Inc., 287 F.3d
        192, 198 (D.C. Cir. 2002); see also United States v. Hubbard,
        650 F.2d 293, 309 (D.C. Cir. 1980) (observing that mandamus
        would be inappropriate prior to district-court action because
        “[i]t is the trial court and not this court that should engage in
        the initial consideration”).1 This “particular[]” reluctance is the
        natural consequence of our considered recognition of our
        proper role in the federal judicial system: “As an appellate
        court, ‘we are a court of review, not of first view[.]’” Capitol
        Servs. Mgmt., Inc. v. Vesta Corp., 933 F.3d 784, 789 (D.C. Cir.
        2019) (alteration in original) (quoting Cutter v. Wilkinson, 544
        U.S. 709, 718 n.7 (2005)). The majority, which cites to no case
        in which we have granted mandamus so precipitously, is

        1
          The majority argues that the district has “acted,” because by
        appointing amicus and scheduling a hearing, it has threatened to
        exercise “judicial supervision” over prosecutorial decisionmaking.
        Majority Op. 16. By this logic, mandamus becomes an ordinary
        means to pretermit district-court consideration and have this court
        decide whether to grant or deny a motion to dismiss once the lower
        court “acts” in a manner that threatens to scrutinize the prosecutor’s
        discretion. Relying as it does on diluting mandamus and overriding
        long-settled procedure, this reasoning collapses under its own
        weight.
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                                       3
        apparently willing to set aside this Court’s well-established and
        well-founded concern for the maintenance of the ordinary
        course in order to proceed in an unprecedented manner. But I
        view our historical disinclination to act out of turn as a
        compelling, independent ground for declining to mandate the
        immediate grant of the Government’s Rule 48(a) motion.

                                       B.

             In considering whether Flynn’s right to relief is “clear and
        indisputable,” it serves to remember that the question at hand
        is not whether or under what circumstances a district court may
        deny a Rule 48(a) motion, but whether it may give
        consideration to such a motion before ruling on it. It should
        come as no surprise that, before today, neither we nor any other
        Court of Appeals has ever read Rule 48(a)’s “leave of court”
        provision to mean that a district court may not even consider
        such a motion before giving its “leave.” Cf. United States v.
        Ammidown, 497 F.2d 615, 622 (D.C. Cir. 1973) (“[W]e do not
        think Rule 48(a) intends the trial court to serve merely as a
        rubber stamp for the prosecutor’s decision.”). In fact, some of
        our case law clearly points in the opposite direction: “The
        requirement of judicial approval entitles the judge to obtain and
        evaluate the prosecutor’s reasons.” Id. (emphasis added).

             In contending that its trailblazing result is somehow
        compelled by precedent, the majority transforms dicta into
        dogma. “[A] statement not necessary to a court’s holding is
        dictum,” In re Grand Jury Investigation, 916 F.3d 1047, 1053
        (D.C. Cir. 2019), and “[d]icta is never binding on any court,”
        Murray Energy Corp. v. EPA, 936 F.3d 597, 627 (D.C. Cir.
        2019) (citing Glus v. Brooklyn E. Dist. Terminal, 359 U.S. 231,
        235 (1959)). In United States v. Fokker Services B.V., 818 F.3d
        733 (D.C. Cir. 2016), this Court addressed the district court’s
        denial of a joint motion to exclude time under the Speedy Trial
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                                       4
        Act, 18 U.S.C. § 3161 et seq., pursuant to a deferred
        prosecution agreement, 818 F.3d at 737–38. The Court there
        had no occasion to make any decision about Rule 48(a), yet the
        majority invokes Fokker as “foreclos[ing] the district court’s
        proposed scrutiny” of such a motion. Majority Op. 7. Nor are
        we bound by Fokker’s sweeping elucidations on the scope of
        executive power, issued as they were in Fokker’s particular
        legal context. Cohens v. Virginia, 19 U.S. 264, 399 (1821) (“It
        is a maxim not to be disregarded, that general expressions, in
        every opinion, are to be taken in connection with the case in
        which those expressions are used. If they go beyond the case,
        they may be respected, but ought not to control the judgment
        in a subsequent suit when the very point is presented for
        decision.”).

             In addition to being improper, the majority’s reliance on
        the Rule 48(a) dicta from Fokker creates a split with our sister
        Courts of Appeals. Fokker’s Rule 48(a) commentary fails to
        take due cognizance of federal appellate authority establishing
        that an important impetus behind the Supreme Court’s insertion
        into Rule 48(a) of the “leave of court” requirement was the
        protection of the public interest, not simply the prevention of
        abuse of the defendant. See, e.g., In re Richards, 213 F.3d 773,
        786–87 (3d Cir. 2000) (“Rule 48(a) . . . also permits courts
        faced with dismissal motions to consider the public interest in
        the fair administration of criminal justice and the need to
        preserve the integrity of the courts.”); United States v. Cowan,
        524 F.2d 504, 509–13 (5th Cir. 1975) (concluding that Rule
        48(a)’s “history . . . belies the notion that [the Rule’s] only
        scope and purpose is the protection of the defendant. . . . [I]t
        [is] manifestly clear that the Supreme Court intended to clothe
        the federal courts with a discretion broad enough to protect the
        public interest in the fair administration of criminal justice”).
        In the same vein, numerous federal appellate courts have
        recognized that a court in receipt of an unopposed Rule 48(a)
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                                       5
        motion may consider the public interest in ruling thereon. See,
        e.g., United States v. Romero, 360 F.3d 1248, 1251 (10th Cir.
        2004) (“[A] court is generally required to grant a prosecutor’s
        Rule 48(a) motion to dismiss unless dismissal is clearly
        contrary to manifest public interest.” (quoting United States v.
        Carrigan, 778 F.2d 1454, 1463 (10th Cir. 1985)); United States
        v. Pimentel, 932 F.2d 1029, 1033 n.5 (2d Cir. 1991) (same);
        United States v. Hamm, 659 F.2d 624, 629 (5th Cir. 1981)
        (“[E]ven when the defendant consents to the motion to dismiss,
        the trial court, in extremely limited circumstances in
        extraordinary cases, may deny the motion when the
        prosecutor’s actions clearly indicate a ‘betrayal of the public
        interest.’” (quoting Cowan, 524 F.2d at 514)); Ammidown, 497
        F.2d at 622 (concluding it is “appropriate” for a trial judge to
        consider the “protection of the public interest” “in considering
        whether to deny approval [] to dismissals of cases”); see also
        Rinaldi v. United States, 434 U.S. 22, 31–32 (1977) (per
        curiam) (in reviewing a district court’s denial of an unopposed
        Rule 48(a) motion, “agree[ing] with the Solicitor General that
        . . . no societal interest would be vindicated” by continuing the
        prosecution (internal quotation marks omitted)); cf. Young v.
        United States, 315 U.S. 257, 259 (1942) (“The public interest
        that a result be reached which promotes a well-ordered society
        is foremost in every criminal proceeding. That interest is
        entrusted to our consideration and protection as well as that of
        the enforcing officers.”).

             Fokker’s oversight is understandable, since the analogy to
        Rule 48(a) was raised and addressed by only one of the three
        parties during briefing, such that the Court did not have the
        benefit of adverse presentation of the issue before expounding
        on it in dictum. But the majority has used Fokker functionally
        to constrict the parameters of the District Court’s Rule 48(a)
        inquiry to include only the prevention of prosecutorial
        harassment of the defendant. No binding authority establishes
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                                        6
        this, and indeed the Supreme Court itself recognizes appellate
        authority to the contrary. See Rinaldi, 434 U.S. at 29 n.15. In
        fact, the Rinaldi Court expressly reserved—found it
        “unnecessary to decide”—whether a district court had
        discretion “to deny a Government dismissal motion to which
        the defendant has consented if the motion is prompted by
        considerations clearly contrary to the public interest.” Id. To
        state, as Fokker did in language the majority now quotes, see
        Majority Op. 5, that “the Supreme Court has declined to
        construe Rule 48(a)’s ‘leave of court’ requirement to confer
        any substantial role for courts in the determination whether to
        dismiss charges,” 818 F.3d at 742 (citing Rinaldi, 434 U.S. at
        29 n.15), is to intimate that the Supreme Court had occasion to
        construe Rule 48(a) one way or another on this issue, which it
        did not.

             The fact is that “[t]he Supreme Court has left open whether
        the court can ever refuse leave to dismiss if the government’s
        request to dismiss is consented to by the defendant.” 3B
        CHARLES ALAN WRIGHT, ARTHUR R. MILLER, & PETER J.
        HENNING, FEDERAL PRACTICE AND PROCEDURE § 802 (4th ed.
        2013) (citing Rinaldi, 434 U.S. at 30, and Watts v. United
        States, 422 U.S. 1032 (1975) (mem.)). This Court has twice
        opined, in dicta, on the factors that might properly guide a
        court’s consideration and disposition of such a motion. See
        Fokker, 818 F.3d at 742–46; Ammidown, 497 F.2d at 619–22.
        While the majority is bound by neither of these decisions, its
        election to treat Fokker as controlling is particularly unsettling
        in view of its willful neglect of our Court’s countervailing
        views expressed in Ammidown. There, the Court envisioned a
        district court in receipt of an unopposed Rule 48(a) motion as
        being “entitle[d] . . . to obtain and evaluate the prosecutor’s
        reasons,” and not “serv[ing] merely as a rubber stamp for the
        prosecutor’s decision.” 497 F.2d at 622. According to
        Ammidown, “the judge should be satisfied that the agreement
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                                       7
        adequately protects the public interest” and “may withhold
        approval if he finds that the prosecutor” committed “such a
        departure from sound prosecutorial principle as to [constitute]
        an abuse of prosecutorial discretion.” Id. (citation omitted).

             None of the authority on which the majority relies supports
        its novel premise that “further judicial inquiry”—by which it
        appears to mean any judicial inquiry—is proper only in “rare”
        or “extraordinary” cases. See Majority Op. 5–6. And although
        it invokes a host of non-binding authority regarding
        permissible grounds for denying a Rule 48(a) motion, see id. at
        5–6, 14–15 & n.5, that question is simply not before us.

             In NetCoalition v. SEC, 715 F.3d 342, 354 (D.C. Cir.
        2013), we noted that “[m]andamus does not lie when our
        precedent no longer, at least in part, binds,” and we have
        declined to find “a ‘clear and indisputable’ right to mandamus
        relief” where the parties present countervailing “substantial
        argument[s]” on unsettled legal issues, In re Khadr, 823 F.3d
        92, 100 (D.C. Cir. 2016). The majority declares it to be “clear
        and indisputable” that no consideration of the Rule 48(a)
        motion may be had by the very court whose leave is required
        to effectuate that motion, but the majority’s need to engage in
        such contortions to reach that conclusion is reason enough to
        deny the writ.

                                      C.

             Next, the majority addresses whether “other adequate
        means to attain the relief” exist, concluding that “the district
        court’s actions will result in specific harms to the exercise of
        the Executive Branch’s exclusive prosecutorial power.”
        Majority Op. 8. Here, too, the majority errs, this time by
        shifting its focus away from the adequate means by which the
        party seeking mandamus may obtain relief and by erecting an
        indefensibly high wall between the branches of government.
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                                          8
             The majority states that “there must be ‘no other adequate
        means to attain the relief.’” Majority Op. 5. But in Cheney v.
        U.S. District Court for the District of Columbia, the source of
        this proposition, the Supreme Court stated that “the party
        seeking issuance of the writ [must] have no other adequate
        means to attain the relief he desires.” 542 U.S. at 380
        (alteration in original) (emphasis added). Indeed, the Supreme
        Court has consistently framed this element around the
        petitioner, not around other parties who have not moved for
        mandamus relief. See, e.g., Kerr v. U. S. Dist. Court for N.
        Dist. of Cal., 426 U.S. 394, 403 (1976) (“Among these
        [conditions for issuance of mandamus] are that the party
        seeking issuance of the writ have no other adequate means to
        attain the relief he desires.” (emphasis added)). The majority
        cites no cases in which a court has concluded that a petitioner
        has satisfied her burden to show no other adequate means to
        attain her sought-after relief based on the absence of alternative
        avenues of relief for a different party that did not petition the
        court for the writ. 2 Neither Flynn nor the Government cited

        2
         Contrary to “squarely reject[ing]” the notion that a court must focus
        on the adequate relief of the party seeking mandamus, Majority Op.
        17, Cobell rejected the notion that the party seeking interlocutory
        appeal and, in the alternative, mandamus relief, must file two
        different petitions in order to abide by our procedural rules. See
        Cobell v. Norton, 334 F.3d 1128, 1140 n.* (D.C. Cir. 2003) (citing
        FED. R. APP. P. 21 and CIR. R. 21). In Ex parte Republic of Peru, in
        which the Supreme Court considered a petition for mandamus sought
        by Peru, the Supreme Court analyzed whether Peru had an adequate
        remedy. It concluded that Peru, as “a friendly sovereign state,” was
        entitled to have its claims “presented and settled in the course of the
        conduct of foreign affairs by [the Executive Branch],” and that Peru
        should not have to endure “the delay and inconvenience of a
        prolonged litigation” when the relief it seeks should be resolved in a
        non-judicial forum. 318 U.S. 578, 586–87 (1943). Here, and unlike
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        such a case. The inconvenient reality is that the petitioner—
        Flynn—has an adequate means, via a traditional appeal, to
        attain relief should the District Court deny the Government’s
        Rule 48(a) motion. See In re al-Nashiri, 791 F.3d 71, 78 (D.C.
        Cir. 2015) (“Mandamus is inappropriate in the presence of an
        obvious means of review: direct appeal from final judgment.”);
        Cheney, 542 U.S. at 380–81 (noting that the requirement of
        absence of adequate alternative remedies is “designed to ensure
        that the writ will not be used as a substitute for the regular
        appeals process”). This fact alone defeats our jurisdiction and
        requires the Court to dismiss Flynn’s petition for a writ of
        mandamus.

           And even if it were proper for the Court to consider the
        Government’s argument that it will suffer an irreparable injury,

        in Ex parte Republic of Peru, the majority grants mandamus solely
        on the basis of a non-petitioner’s interests.

             The majority goes on to say that we “must” consider the
        irreparable harms of the non-moving party because that party filed
        the Rule 48(a) motion that got this ball rolling in the district court,
        but one need look no further than the majority’s immediately
        succeeding citation to find contradictory authority. See Majority Op.
        17 (citing Doe v. Exxon Mobile Corp., 473 F.3d 345, 356–57 (D.C.
        Cir. 2007)). “[W]e need not resolve the political question issue on
        the merits at this time,” because “[n]one of the cases cited by our
        [dissenting] colleague stand for the proposition that we should grant
        a mandamus for which the executive has not prayed.” Exxon Mobile
        Corp., 473 F.3d at 356; see also id. at 357 (noting that, had the
        Executive “requested dismissal of the action,” the separation-of-
        powers issue “would have been before the district court” in the first
        instance). And while the majority points out that the Government
        offered at oral argument to file a mandamus petition, Majority Op.
        17, the fact remains that no such petition has ever been filed, and thus
        none is before us.
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                                       10
        the majority overstates the separation-of-powers dilemma
        presented by Rule 48(a) motions. It is an unremarkable
        proposition that, pursuant to his constitutional duty to “take
        Care that the Laws be faithfully executed,” U.S. CONST. art II,
        § 3, the Executive has “broad discretion” over prosecutorial
        matters, and that a “presumption of regularity” attaches to the
        exercise of that discretion, United States v. Armstrong, 517
        U.S. 456, 464 (1996) (citations omitted). It is (or should be)
        equally uncontroversial that such discretion is not absolute and
        that the presumption of regularity does not shield such
        discretion from review. Indeed, the Supreme Court said as
        much in Rinaldi, where the Court “[did] not presume[] bad
        faith on the part of the Government at the time it sought leave
        to dismiss the indictment,” 434 U.S. at 30, yet nonetheless
        conducted an “independent evaluation” of the record, id. at 23;
        see also id. at 30, to determine whether the unopposed Rule
        48(a) motion should have been granted. See also Thompson v.
        United States, 444 U.S. 248, 250 (1980) (performing
        “independent examination of the record” and remanding, rather
        than granting, government’s motion to dismiss indictment).

             The same principle holds true in the selective-prosecution
        context, where the district court may dismiss an indictment if
        it finds “the decision to prosecute [was] ‘deliberately based
        upon an unjustifiable standard such as race, religion, or other
        arbitrary classification.’” Wayte v. United States, 470 U.S.
        598, 608 (1985) (quoting Bordenkircher v. Hayes, 434 U.S.
        357, 364 (1978)). While the Supreme Court has iterated some
        separation-of-powers concerns around the conduct of
        discovery pursuant to such a motion, see Armstrong, 517 U.S.
        at 468, it has never cited the separation of powers as prohibiting
        the district court from holding a hearing on such a motion. To
        the contrary, courts have allowed not just plain hearings (or
        oral arguments) on such motions to dismiss, but evidentiary
        hearings where the prosecutor is subject to questioning under
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              oath. See United States v. Falk, 479 F.2d 616, 623 (7th Cir.
              1973) (en banc) (remanding and reassigning case for a hearing
              in which the defendant could question the Assistant United
              States Attorney as to specific issues related to the defendant’s
              motion to dismiss for selective prosecution); see also United
              States v. Berrios, 501 F.2d 1207, 1209, 1212 (2d Cir. 1974)
              (finding no abuse of discretion in the district court’s order that
              the government turn over, for in camera review, a
              memorandum sent by the prosecutor to the U.S. Department of
              Justice recommending prosecution of the defendant).

                   In other words, it is not inconsistent with the separation of
              powers for a district court to conduct regular proceedings and
              afford consideration to a motion, even if the eventual grant or
              denial of the motion might intrude on the Executive’s exercise
              of his prosecutorial discretion. Again, this is not a case where
              we are being asked to decide whether the district judge may
              call the prosecutor to the stand or whether a Rule 48(a) motion
              may lead to an evidentiary hearing. This is a case about
              whether a district judge may even hold a hearing on a Rule
              48(a) motion. While the selective-prosecution context is
              admittedly different than Rule 48(a), these cases nonetheless
              contradict the majority’s conclusion that holding a hearing, in
              and of itself, is a per se improper intrusion upon executive
              power. If the presumption of regularity does not prevent
              holding a hearing or independently examining prosecutorial
              discretion in the selective-prosecution context, there is no good
              reason why the presumption of regularity precludes a hearing
              on a motion to dismiss under Rule 48(a), disallowing any
              consideration whatsoever and forbidding the district court from
              expressing its views on the record with respect to its previous
              findings on materiality and guilt—all in the name of the
              separation of powers.
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             None of this is to say that a district court, in considering
        an unopposed Rule 48(a) motion, necessarily has carte blanche
        to do whatever it likes.         One can certainly imagine
        circumstances in which a district court employed devices that
        would be sufficiently intrusive into the Executive’s purview as
        to violate the separation of powers and counsel in favor of
        immediate relief from the related orders. See, e.g., Matter of
        Commodity Futures Trading Comm’n, 941 F.3d 869, 872, 874
        (7th Cir. 2019) (granting mandamus to vacate order of district
        court requiring executive personnel “to appear and reveal what
        lies behind their published words”); Cheney, 542 U.S. at 387,
        391 (indicating mandamus might be appropriate where district
        court approved discovery requests to the Executive that
        “ask[ed] for everything under the sky”). An appellate court
        faced with such conditions might conclude that “exceptional
        circumstances amounting to a judicial ‘usurpation of power’”
        existed, such that the “extraordinary remedy” of mandamus
        might be justified. Will v. United States, 389 U.S. 90, 95
        (1967). But that case is not before us. Not only has the District
        Court not issued subpoenas or ordered discovery, it has given
        no indication of its intent to do so. Instead, it is the District
        Court’s intention to consider the motion in the ordinary course,
        with briefing and argument, and the majority now labels that a
        “judicial usurpation of power.” See id. In so concluding, the
        majority has improperly siloed the different branches of
        government in an effort to prevent the possibility of intrusive
        inquiry that may or may not occur. To the extent that any of
        the majority’s fears of intrusive inquiries are well-founded,
        they could easily be resolved by providing instruction to the
        District Court as to the metes and bounds of a permissible Rule
        48(a) hearing, with this panel (if it wished) retaining
        jurisdiction in the event those bounds were overstepped. Cf.
        Berrios, 501 F.2d at 1213 (“Against the possibility that, upon
        remand, a difference might arise between the court and the
        government regarding the [extent to which matters of
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        prosecutorial decisionmaking remain confidential], we retain
        jurisdiction for the purpose of review of the court’s ruling.”).

             “[A] petitioner’s right to relief is ‘clear and indisputable’
        where he or she can point to ‘cases in which a federal court has
        held that’ relief is warranted ‘in a matter involving like issues
        and comparable circumstances.’ Accordingly, we will deny
        mandamus even if a petitioner’s argument, though ‘pack[ing]
        substantial force,’ is not clearly mandated by statutory
        authority or case law.” In re Al Baluchi, 952 F.3d 363, 369
        (D.C. Cir. 2020) (second alteration in original) (quoting Doe v.
        Exxon Mobil Corp., 473 F.3d 345, 355 (D.C. Cir. 2007), and In
        re Khadr, 823 F.3d at 99–100). No one contends that Flynn
        must have a case “on all fours,” Majority Op. 15, but the
        required showing—one of legal certainty—is a “high hurdle.”
        NetCoalition, 715 F.3d at 354. Said another way, “[l]egal
        aporias are the antithesis of the ‘clear and indisputable’ right
        needed for mandamus relief.” In re al-Nashiri, 791 F.3d at 86.
        In issuing the writ compelling the District Court to grant the
        pending motion without considering it, the majority shuts its
        eyes to the unsettled state of the law on the relevant questions:
        the import of Rule 48(a)’s “leave of court” provision, the size
        and shape of a district court’s discretion in considering an
        unopposed Rule 48(a) motion, and the interplay between the
        Executive’s prosecutorial discretion and the Judiciary’s
        adjudicative power in these circumstances. Flynn has adequate
        means to attain the relief he seeks, and he has pointed to no
        authority mandating his preferred outcome here. As such,
        Flynn fails to carry his burden, and especially given that the
        District Court has yet to rule on the motion to dismiss, the writ
        should not issue to compel the District Court to grant the
        motion.
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                                         14
                                         II.

             The majority also concludes that the writ should issue to
        compel the vacation of the District Court’s order appointing
        amicus (1) to address whether Flynn should be held in criminal
        contempt for perjury, and (2) to present arguments in
        opposition to the Government’s otherwise-unopposed Rule
        48(a) motion. In neither respect has Flynn carried his burden
        to establish that his right to relief is “clear and indisputable.”

                                         A.

             “The power to punish for contempts is inherent in all
        courts; its existence is essential . . . to the due administration of
        justice.” Ex parte Robinson, 86 U.S. 505, 510 (1873); accord
        Michaelson v. United States, 266 U.S. 42, 65 (1924) (referring
        to this premise as “settled law”). Federal Rule of Criminal
        Procedure 42 provides a procedure by which a district court
        may appoint an attorney to prosecute contempt, should the
        government decline to do so. FED. R. CRIM. P. 42(a)(2). This
        Rule reflects the fact that “it is long settled that courts possess
        inherent authority to initiate contempt proceedings for
        disobedience to their orders, authority which necessarily
        encompasses the ability to appoint a private attorney to
        prosecute the contempt.” Young v. United States ex rel. Vuitton
        et Fils S.A., 481 U.S. 787, 793 (1987). “Moreover, a court has
        the power to conduct an independent investigation in order to
        determine whether it has been the victim of fraud.” Chambers
        v. NASCO, Inc., 501 U.S. 32, 44 (1991). Far from establishing
        his clear and indisputable right to relief, neither Flynn, nor the
        majority in his stead, engages this precedent or forwards any
        legal arguments as to why a district court that may undeniably
        appoint a private attorney to prosecute contempt lacks the
        lesser power to appoint amicus to advise it regarding whether
        it ought to do so. Nor does the majority explain why directing
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        the District Court to grant the motion to dismiss renders moot
        the District Court’s appointment of amicus to advise it on the
        legally separate issue of contempt.

                                       B.

             Similarly, Flynn fails to establish that it is clear and
        indisputable that the District Court erred in its appointment of
        amicus to present arguments in opposition to the Government’s
        Rule 48(a) motion. Flynn’s only legal argument on the topic is
        addressed to the District Court’s Local Rules, the ambiguity of
        which falls well short of bringing the issue beyond dispute.
        (Notably, the majority’s solution to Flynn’s failure to carry his
        burden on this point is to ignore the issue altogether. The
        majority uses its passing conclusion that amicus participation
        is improper as a basis for ordering the separate relief of
        mandamus on the Rule 48(a) motion—and then, having done
        so, it declares the amicus issue moot.)

             Local Civil Rule 1.1(a) provides that “[t]hese Rules govern
        all proceedings in the United States District Court for the
        District of Columbia,” and Local Civil Rule 7(o) contemplates
        the submission of amicus briefs. But Local Civil Rule 7,
        entitled “Motions,” is duplicated to a limited extent in Local
        Criminal Rule 47, also entitled “Motions,” and the latter
        includes no mention of amicus briefs. And, as Flynn argues,
        the Supreme Court observed in Hollingsworth v. Perry, 558
        U.S. 183 (2010), that local rules “have the force of law,” id. at
        191 (internal quotation marks omitted). Flynn’s contention
        that the Local Rules should be read as prohibiting the
        participation of amici in criminal cases is therefore a plausible
        one, as the Civil Rules provide for amici while the Criminal
        Rules do not.
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             But this Court has never held that an arguable proposition
        entitles a petitioner to the extraordinary writ of mandamus. See
        In re Al Baluchi, 952 F.3d at 369 (“[W]e will deny mandamus
        even if a petitioner’s argument, though ‘pack[ing] substantial
        force,’ is not clearly mandated by statutory authority or case
        law.” (second alteration in original)). And relying entirely as
        he does on his construction of the Local Rules, Flynn fails to
        engage with the fact that, in the absence of countervailing
        authority, courts have “inherent power to provide themselves
        with appropriate instruments required for the performance of
        their duties. This power includes authority to appoint persons
        unconnected with the court to aid judges in the performance of
        specific judicial duties, as they may arise in the progress of a
        cause.” Ex parte Peterson, 253 U.S. 300, 312 (1920) (citation
        omitted). The character and confines of such inherent
        authority, as concerns a district court’s appointment or
        allowance of amici, are simply not well developed. Cf. United
        States ex rel. Gudur v. Deloitte Consulting LLP, 512 F. Supp.
        2d 920, 927 (S.D. Tex. 2007) (observing that “[n]o statute, rule,
        or controlling case defines a federal district court’s power to
        grant or deny leave to file an amicus brief”); Jin v. Ministry of
        State Sec., 557 F. Supp. 2d 131 (D.D.C. 2008) (asserting, on
        the basis of a number of district-court cases, that “[d]istrict
        courts have inherent authority to appoint or deny amici[,]
        which is derived from Rule 29 of the Federal Rules of
        Appellate Procedure” (citation omitted)).
             Both this Court and the Supreme Court regularly permit
        the participation of amici in the criminal context, however, and
        there is no readily apparent reason why, in appropriate
        circumstances, a district court might not exercise its inherent
        power to do the same—especially in the absence of any
        authority expressly prohibiting it. Flynn’s counsel even
        conceded at oral argument that district courts have the authority
        to accept amicus briefs in some criminal cases. Oral Arg. Tr.
        19–21. To the extent the majority’s sub silencio holding on the
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        propriety of amicus participation rests on the absence of such
        authority in this particular case, the distinction has no legal
        basis, and certainly not a clear and indisputable one. And if the
        majority’s unuttered reasoning were premised on the absence
        of a case or controversy, its mandate that the District Court
        grant the Government’s Rule 48(a) motion to dismiss the
        information with prejudice would be wholly inappropriate.
        See, e.g., Flynt v. Weinberger, 762 F.2d 134, 135–36 (D.C. Cir.
        1985) (per curiam); Murray v. Conseco, Inc., 467 F.3d 602, 605
        (7th Cir. 2006). What is indisputable is that adverse
        presentation of the relevant issues aids courts in their
        decisionmaking—indeed, this is one of the foundational
        premises of our judicial system. United States v. Nobles, 422
        U.S. 225, 230 (1975). Yet the majority gives this bedrock
        principle of our legal system no weight or consideration. As
        such, I must dissent from the majority’s functional ruling that
        the appointment of amicus violated a clear and indisputable
        right held by Flynn.

                                     ***

             The majority opinion effectively transforms the
        presumption of regularity into an impenetrable shield. In 2017,
        the then-Acting Attorney General told the Vice President that
        Flynn’s false statements “posed a potential compromise
        situation for Flynn” with the Russians, Gov’t Mot. Dismiss
        Crim. Info. Ex. 3 at 8, No. 1:17-cr-232, ECF No. 198-4 (May
        7, 2020), and just a few months ago, the prosecution said that
        Flynn’s false statements to the FBI “went to the heart” of a
        valid counterintelligence inquiry and “were absolutely
        material,” Gov’t Surreply Mot. Compel Produc. Brady Mat. at
        10–11, No. 1:17-cr-232, ECF No. 132 (Nov. 1, 2019). Now, in
        a complete reversal, the Government says none of this is
        true. Gov’t Mot. Dismiss Crim. Info. at 13–16, No. 1:17-cr-
        232, ECF No. 198. The Government doubles down by
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        asserting in its motion to dismiss that Flynn’s statements could
        not have been “material” within the meaning of 18 U.S.C.
        § 1001 because the FBI had no grounds for any “viable”
        investigation of Flynn at the time he made those statements, id.
        at 13, even though that contention appears squarely belied by
        our precedent, see United States v. Moore, 612 F.3d 698, 701
        (D.C. Cir. 2010) (“We . . . hold[] a statement is material if it
        has a natural tendency to influence, or is capable of influencing,
        either a discrete decision or any other function of the agency to
        which it was addressed.”) (emphasis added); United States v.
        Hansen, 772 F.2d 940, 949 (D.C. Cir. 1985) (Scalia, J.) (“A lie
        influencing the possibility that an investigation might
        commence stands in no better posture under § 1001 than a lie
        distorting an investigation already in progress.”). This is no
        mere about-face; it is more akin to turning around an aircraft
        carrier.

              The Government asserted to us that it has no duty to inform
        the court in a motion to dismiss pursuant to Rule 48(a) of all of
        its reasons for seeking dismissal. Oral Arg. Tr. 33. Today the
        majority declares that nevertheless—in spite of the
        Government’s abrupt reversal on the facts and the law, and
        although the Government declares itself entitled not to be
        forthcoming with the District Court—these circumstances
        merit no further examination to determine whether there may
        be additional reasons for the prosecutor’s actions, and if so, if
        any such reasons are impermissible. Under the majority’s
        interpretation of Rule 48(a), so long as the defendant consents
        to the dismissal, “leave of court” is a dead letter.

            The Government may be entitled to “leave of court” under
        Rule 48(a) to dismiss the criminal information to which Flynn
        pled guilty, but that is not for us, as a Court of Appeals, to
        decide in the first instance. Rather, the District Court must be
        given a reasonable opportunity to consider and hold a hearing
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        on the Government’s request to ensure that it is not clearly
        contrary to the public interest. I therefore dissent.
